858 F.2d 1479
    Deborah S. TOLBERT Plaintiff-Appellee,v.MARTIN MARIETTA CORPORATION, a Maryland Corporation,Defendant-Appellant,Arthur Benjamin Martinez, also known as A.B. Martinez,Third-party-defendant.
    No. 86-1188.
    United States Court of Appeals,Tenth Circuit.
    Oct. 13, 1988.
    
      Appeal from the United States District Court for the District of Colorado;  Jim R. Carrigan, Judge.
      James A. Kaplan and Jack M. Wesoky, of Feuer, Flossic &amp; Rich, Englewood, Colo., for plaintiff-appellee.
      John R. Webb and Corin W. McIlnay, of Holme, Roberts &amp; Owen, Denver, Colo., for defendant-appellant.
      Before HOLLOWAY, Chief Judge, and MOORE and BRORBY, Circuit Judges.
      PER CURIAM.
    
    
      1
      After examining the briefs and appellate record, this panel has determined unanimously that oral argument would not materially assist the determination of this appeal.  See Fed.R.App.P. 34(a);  10th Cir.R. 34.1.8.  The cause is therefore ordered submitted without oral argument.
    
    
      2
      In accordance with the Colorado Supreme Court's decision in In re Tolbert v. Martin Marietta Corp., 759 P.2d 17 (Colo.1988), the memorandum opinion and order of the United States District Court for the District of Colorado in Tolbert v. Martin Marietta Corp., 621 F.Supp. 1099 (D.Colo.1985), is reversed and the cause remanded with directions to enter summary judgment in favor of defendant Martin Marietta Corporation.
    
    
      3
      The mandate shall issue forthwith.
    
    